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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION


SOUTHSTAR CAPITAL GROUP, I,
LLC; COTTINGTON ROAD TIC, LLC;
and DURBAN ROAD TIC, LLC,

      Plaintiffs,

v.                                                     Case No. 6:18-cv-1453-Orl-37GJK

1662 MULTIFAMILY LLC; HINES 1662
MULTIFAMILY, LLC; HINES
INVESTMENT MANAGEMENT
HOLDINGS LIMITED PARTNERSHIP;
HIMH GP, LLC; HINES REAL ESTATE
HOLDINGS LIMITED PARTNERSHIP;
HINES INTEREST LIMITED
PARTNERSHIP; JCH INVESTMENTS,
INC; and URBAN OAKS BUILDERS,
LLC,

      Defendants.
_____________________________________

                                        ORDER

      This cause is before the Court on its own motion. Pursuant to Local Rule 1.04(b),

the Court hereby orders this case to be transferred to U.S. District Judge Anne C. Conway,

with her consent, for consideration with Case No. 6:18-cv-1147-Orl-22DCI.

      DONE AND ORDERED in Chambers in Orlando, Florida, on September 21, 2018.




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Copies to:
Counsel of Record




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